                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                    3:05cr258

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
HUNG VAN NGUYEN                          )
________________________________________ )


       THIS MATTER is before the Court upon the second motion of the defendant to issue a

new judgment to enable him to file notice of appeal. (Doc. No. 110).

       The Court denied the previous motion (Doc. No. 100) on the basis that it lacked authority

to extend the deadline for filing an appeal pursuant to Fed. R. App. P. 4 and that there was no

basis to correct the judgment under Fed. R. Crim. P. 35 or 36. (Doc. No. 101: Order). In the

instant motion, the defendant invokes the “broad and flexible power” of the Court pursuant to 28

U.S.C. § 2255 to fashion an appropriate remedy. (Doc. No. 110: Motion at ¶ 9). It is not clear,

however, that the defendant intended to file a motion to vacate under § 2255.

       The Court is required to allow a defendant the opportunity to express his intent in regard to

such a filing. Castro v. United States, 540 U.S. 375, 383 (2003); United States v. Blackstock, 513

F.3d 128 (4th Cir. 2008). In making this determination, the defendant should be aware that the

Antiterrorism and Effective Death Penalty Act (AEDPA) provides that § 2255 motions have a

one-year limitation period.1

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        Specifically, the Act provides:
              A 1-year period of limitation shall apply to a motion under this section.
       The limitation period shall run from the latest of–
              (1) the date on which the judgment of conviction becomes final;
              (2) the date on which the impediment to making a motion created


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       The defendant should be further aware that second or successive motions under § 2255

generally are prohibited. 28 U.S.C. § 2255. Therefore, a second or successive motion would have

to be certified by a panel of the appropriate court of appeals to contain:

               (1) newly discovered evidence that, if proven and viewed in light of
               the evidence as a whole, would be sufficient to establish by clear
               and convincing evidence that no reasonable fact finder would have
               found the movant guilty of the offense; or (2) a new rule of
               constitutional law, made retroactive to cases on collateral review by
               the Supreme Court, that was previously unavailable.

28 U.S.C. § 2244. Certification for second or successive motions to vacate rarely is granted.

       It further appears to the Court that the limitations period for filing a motion to vacate has

expired. The Fourth Circuit has directed district courts to warn a defendant where it appears that

his habeas claim is subject to dismissal as untimely. Hill v. Braxton, 277 F.3d 701, 706 (4th Cir.

2002); United States v. Sexton, No. 02-6273, slip op. at 1 (4th Cir. Feb. 28, 2003). Here, the

defendant’s conviction and sentence became final on September 19, 2006, when the time for filing

a direct appeal expired. United States v. Johnson, No. 99-7005, 2000 WL 37753 (4th Cir. Jan. 19,

2000). Although the previous motion was resolved within the one-year limitations period, the

instant motion was not filed until September 12, 2008, well after the limitations period expired.




               by governmental action in violation of the Constitution or laws of
               the United States is removed, if the movant was prevented from
               making a motion by such governmental action;
               (3) the date on which the right asserted was initially recognized by
               the Supreme Court and made retroactively applicable to cases on
               collateral review; or
               (4) the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.


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       IT IS THEREFORE, HEREBY ORDERED that within twenty (20) days of the date of

this Order, the defendant shall file a document:

       1.      stating whether or not he wants this Court to treat the instant motion (Doc. No.

               110) as a motion to vacate under § 2255;

       2.      if the defendant elects to treat the instant motion as a motion to vacate under §

               2255, he must explain why he believes the claim that his attorney failed to file a

               notice of appeal when directed to do so should be deemed timely filed; and

       3.      if the defendant fails timely to respond, the Court will not consider the instant

               motion to be a motion to vacate under § 2255, and it will be denied on the same

               basis as the previous motion.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, and to the United States Attorney.

                                                   Signed: September 29, 2008




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